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 4   Telephone: (916) 554-2724

 5

 6               IN THE UNITED STATES DISTRICT COURT FOR THE

 7                       EASTERN DISTRICT OF CALIFORNIA

 8
     UNITED STATES OF AMERICA,     )
 9                                 )              MAG. NO. 2:09-086 EFB
                 Plaintiff,        )
10                                 )              MOTION TO DISMISS
          v.                       )              COMPLAINT AS TO
11                                 )              AMAR KHAN
     AMAR KHAN,                    )
12                                 )
                 Defendant.        )
13   ______________________________)

14
               Pursuant to Rule 48(a) of the Federal Rules of Criminal
15
     Procedure, the United States respectfully moves this court for an
16
     order dismissing without prejudice the above-captioned complaint
17
     filed on March 11, 2009, as to AMAR KHAN only.
18
     DATED: March 11, 2009.
19
                                              LAWRENCE G. BROWN
20                                            Acting United States Attorney

21                                               Signature on original
                                         By:________________________
22                                          R. STEVEN LAPHAM
                                            Assistant U.S. Attorney
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       Case 2:09-mj-00086-EFB Document 12 Filed 03/11/09 Page 2 of 2



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 6               IN THE UNITED STATES DISTRICT COURT FOR THE

 7                       EASTERN DISTRICT OF CALIFORNIA

 8
     UNITED STATES OF AMERICA,     )
 9                                 )               MAG. NO. 2:09-086 EFB
                 Plaintiff,        )
10                                 )              ORDER DISMISSING
          v.                       )              COMPLAINT AS TO
11                                 )              AMAR KHAN
     AMAR KHAN,                    )
12                                 )
                 Defendant.        )
13   ______________________________)

14
               Based on the the government's motion to dismiss the
15
     complaint against AMAR KHAN
16
               IT IS HEREBY ORDERED that the above-captioned complaint
17
     be and hereby is dismissed withour prejudice as to AMAR KHAN only.
18
     DATED: March 11, 2009.
19

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                                              ___________________________
21                                            HON. EDMUND F. BENNAN
                                              United States Magistrate Judge
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